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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-cv-02722-CMA-KLM

  ANTHONY LAWRENCE GARCIA,

         Plaintiff,

  v.

  DR. WRIGHT, individually and as a Centennial Correctional Facility physician, and
  DR. WHITE, individually and as a Buena Vista Correctional Complex physician,

       Defendants.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

         This matter is before the Court on Plaintiff’s Motion for Copies of Discovery
  [Docket No. 74; July 25, 2012] (the “Motion”). Although Plaintiff proceeds in this matter pro
  se, he must comply with the same rules of procedure that govern other litigants. See
  Green v. Dorrell, 969 F.2d 915, 917 (10th Cir. 1992); see also Nielsen v. Price, 17 F.3d
  1276, 1277 (10th Cir. 1994). The Court may not order other parties to supply him with
  multiple copies of discovery or other litigation paperwork; rather, Plaintiff, despite
  proceeding in forma pauperis [#3], is responsible for making his own copies, which, in some
  instances, may include handwriting his own copies. See Cole v. Pugh, No. CIVA-06CV-
  01392-BNB, 2006 WL 3328195, at *2 (D. Colo. Nov. 15, 2006); Hagan v. Credit Union of
  Am., No. 11-1131-JTM, 2011 WL 6739595, at *2 (D. Kan. Dec. 22, 2011). Accordingly,

         IT IS HEREBY ORDERED that the Motion [#74] is DENIED.


         Dated: August 2, 2012
